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| RICHARD Na SEL
UNITED STATES DISTRICT COURT CLERK OFC
SOUTHERN DISTRICT OF OHIO .

WESTERN DIVISION {NSNOV-6 PM 3:33
UNITED STATES OF AMERICA, : CASENO. J 19 PERS sist SO

' ST DI Cinco ge

Plaintiff, : JUDGE BLACK
v. ‘" INDICTMENT

18 U.S.C. §2
18 U.S.C § 922(g)(1)

18 U.S.C. § 924(a)(2)

18 U.S.C. § 1956(a)(1)(A)(i)
18 U.S.C. § 1956(h)

21 U.S.C. § 841(a)(1)

21 U.S.C. § 841(b)(1)(A)(ii)
21 U.S.C. § 841(b)(1)(A)(vi)
21 U.S.C. § 841(b)(1)(B) (viii)
21 U.S.C. § 841(C)

21 U.S.C. § 846

21 U.S.C. § 856(a)(1)

31 U.S.C. § 5324(b)

31 U.S.C. § 5331

NOTICE OF FORFEITURE

 

AYMAN ANIS AL HAJJEH (16)

 

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ERNESTO RINCON (20)

 

 

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Defendants.

THE GRAND JURY CHARGES THAT:

COUNT ONE
(Narcotics Conspiracy)

Beginning on or about or about March 1, 2016, the exact date being unknown and

continuing up to and including October 29, 2019, the exact date being unknown, within the

Southern District of Ohio, and elsewhere, the — |

 
  

ae 0 RINCON;

others known and unknown to the Grand Jury, did knowingly and intentionally combine,

 

conspire, confederate and agree with each other and with others known and unknown to the
Grand Jury, to possess with intent to distribute and to distribute mixtures and substances
containing a mixture or substance containing a detectable amount of cocaine, a Schedule II

controlled substance, the amount of said mixture and substance was 5 kilograms or more, and

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substances containing fentanyl, a Schedule II controlled substance, the amount of said mixture
and substance was 400 grams or more, and substances containing methamphetamine, a Schedule
II controlled substance, the amount of said mixture and substance was 500 grams or more, in
violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(i)(vi)(wviii) and 841(b)(1)(C).

All in violation of 21 U.S.C. § 846.

COUNT TWO
(Distribution and Possession with Intent to Distribute a Controlled Substance)

 

In violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and 18 U.S.C. § 2.

COUNT THREE
(Distribution and Possession with Intent to Distribute a Controlled Substance)

 

In violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(B)(ii) and 18 U.S.C. § 2.

COUNT FOUR
(Distribution and Possession with Intent to Distribute a Controlled Substance)

 

In violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(ii) and 18 U.S.C. § 2.

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COUNT FIVE
(Distribution and Possession with Intent to Distribute a Controlled Substance)

 

In violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A)(vi) and 18 U.S.C. § 2.

COUNT SIX
(Distribution and Possession with Intent to Distribute a Controlled Substance)

 

In violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) and 18 U.S.C. § 2.

COUNT SEVEN
(Possession by a Prohibited Person)

In violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2).

COUNT EIGHT
(Possession by a Prohibited Person)

 

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In violation of 18 U.S.C. §§ 922(¢)(1) and 924(a)(2).

COUNT NINE
(Operating a drug involved premises)

 

In violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2.

COUNT TEN
(Operating a drug involved premises)

 

In violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2.

COUNT ELEVEN
(Money Laundering Conspiracy)

Introduction — the businesses
Tri-State Jewelers, Inc. a.k.a. TSJ Jewelers, Inc. (hereafter Tri-State Jewelers) was

incorporated on or about August 2, 2015 in the State of Ohio. The contact person, authorized

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ith on ae EE I Ui

States citizen who has been running and managing Tri-State Jeweler since at least 2014. Tri-State

Jeweler has a business account with PNC Bank, account ending in 5259, which lists

s the signor of the account, which was opened on or about July 24, 2015.

  
 

Nationwide Automotive Group, Inc. (hereafter Nationwide Automotive) was incorporated

on or about May 14,2012 inthe State of Cho. Ar
was listed as the incorporator with an address of Po On or —

about February 5, 2018, Amendments to Articles of Incorporation were filed with the. Ohio
Secretary of State ‘isin the Vice President of Nationwide Automotive and
informing the State of Ohio that Nationwide Automotive had relocated iii

ee : a United States citizen who manages Nationwide

Automotive. Nationwide Automotive has a business account with PNC Bank, account ending in

0821, which lists ee: the place of business with iT as

one of the signors, and which was opened on or about May 11, 2012.

The Conspiracy

‘Beginning in or about September 2018, and continuing up to September 20, 2019, in the

Southem District of Ohio, a
Es. GE ws es,

_—————— did knowingly, intentionally, and unlawfully conspire

to conduct financial transactions affecting interstate commerce, which involved the proceeds of
specified unlawful activity, that is narcotics trafficking, with the intent to promote the carrying on

of specified unlawful activity, to wit: the sale or distribution of controlled substances as defined in

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the Controlled Substances Act and that while conducting and attempting to conduct such financial
transactions knew that the property involved in the financial transaction represented the proceeds
of some form of unlawful activity, in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i).

The Goal of the Conspiracy

It was a goal of the conspiracy ili ee,
EE Ee eee
Pee, EE ayn oAen,
ee, and others, would launder illegal proceeds/profits from

illegal narcotics trafficking, by knowingly conducting and attempt to conduct financial
transactions affecting interstate and foreign commerce, which involved the proceeds of a specified
unlawful activity, that is, narcotics trafficking, with the intent to promote the carrying on of
specified unlawful activity, to wit: the sale or distribution of controlled substances as defined in
the Controlled Substances Act and that while conducting and attempting to conduct such financial
transaction knew that the property involved in the financial transaction represented the proceeds
of some form of unlawful activity.

Manner and Means to Accomplish the Conspiracy

It was a part of the conspiracy that i
a ould make and/or accept cash payments for goods

which was used for their personal use, and for the use and benefit of members of illegal narcotics
organizations, including, but not limited to the BRYANT DTO, and which furthered the illegal
narcotics distribution activities.

It was further part of the conspiracy that members of the conspiracy would take and keep
stored at Tri-State Jeweler and Nationwide Automotive amounts of United States currency known

to be derived from the sale of narcotics.

It was further part of the conspiracy that i

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ee yvi4n vassen,
I «1:3 others working on behalf of them and

others, would conceal the monies earned from the sale of controlled substances (hereafter referred
to as drug proceeds) in the greater Cincinnati, Ohio area in various bags and/or packages to
transport the illegal proceeds via interstate commerce to and from the Cincinnati, Ohio area, among

other places.

It was further part of the conspiracy that [iii

a AYMAN ANIS AL
I ited ine fotowing ets:

1. On or about May 2, 2019 while acting in his management capacity with Tri-
State Jeweler, accepted $1,400 in United States currency for the purchase of a diamond
pendant necklace.

2. On or about June 12, 2019, | sis while acting in his
capacity as owner of Tri-State Jeweler, accepted $15,000 in United States currency for
the purchase of a diamond ring.

3. Onor about July 1, 2019, fo while acting in his capacity
as owner of Tri-State Jeweler, accepted $4,000 in United States currency for the
purchase of a diamond ring.

4. On or about July 30 2019 TE while acting in his capacity as manager of
Nationwide Automotive, accepted $38,800 in United States currency for the purchase
of an automobile.

5. Between approximately December 2018 up through and including April, 2019, and

beyond, TE 00K and agreed to store, at

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least temporarily, at Tri-State Jeweler United States currency in the amount of
approximately $2,500,000.00

6. Between approximately November 2018 up through and including April, 2019, and
beyond TTT 0: and agreed to store, at
least temporarily, at Nationwide Automotive United States currency in the amount of
$800,000.00.

7. On or about August 7, 2019, I provided $59,960 in United
States currency tdi who then provided the currency to AL HAJJEH for the purpose

of transferring the currency to another location.

8. On or about September 20, 2019, EEE provided $79,980 in
United States currency 1 TE «1.0 then provided the currency to

a. the purpose of transferring the money to another location
All in violation of 18 U.S.C. § 1956(h).

COUNT TWELVE
(Money Laundering)

On or about the dates set forth below, in the Southern District of Ohio, defendants [

a wyvian ANIS AL HAJJEH did knowingly conduct and attempt to

conduct financial transactions affecting interstate and foreign commerce as described below,
which involved the proceeds of a specified unlawful activity, that is, narcotics trafficking, with the
intent to promote the carrying on of specified unlawful activity, to wit: the sale or distribution of
controlled substances as defined in the Controlled Substances Act and that while conducting and
attempting to conduct such financial transaction knew that the property involved in the financial

transaction represented the proceeds of some form of unlawful activity:

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COUNT DATE MONETARY TRANSACTION

| ER Sr vided $59,960 in United
States currency tollflllwho then provided the currency to
AL HAJJEH for the purpose of transferring the money to

another location.

 

 

12 08/07/2019

 

 

 

 

 

All in violation of 18 U.S.C. §§ 1956(a)(1)(A)(i) and 2.

COUNTS THIRTEEN
oney Launderin

 

All in violation of 18 U.S.C. § § 1956(a)(1)(A)(i) and 2.

COUNT FOURTEEN
(Failure to File Reports Related to Currency)

 

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All in violation of 31 U.S.C. § § 5324(b) and 5331 and 18 U.S.C. § 2.

COUNT FIFTEEN
(Failure to File Reports Related to Currency)

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All in violation of 31 U.S.C. § § 5324(b) and 5331 and 18 U.S.C. § 2.
FORFEITURE ALLEGATION ONE

Upon conviction of one or more of the offenses set forth in Counts 1 through 6, 9, and/or

10 of tis Indictment, the defences, A

 

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hall forfeit

to the United States, pursuant to 21 U.S.C. § 853(a), (1) any property constituting, or derived from,

any proceeds obtained, directly or indirectly, as a result of such violation(s), and (2) any property

used, or intended to be used, in any manner or part, to commit, or to facilitate the commission of,

such violation(s), including but not limited to:

a)

b)

c)

A sum of money equal to the amount of proceeds the defendants obtained as a result
of the offense(s);

Real Property known and numbered as [iii
PS

with all appurtenances, attachments and improvements
attached thereto, legally described as:

Situated in oF Springfield Township, Hamilton

County, Ohio and being all 0 fj S Phase
III, recorded in Registered Land Plat Book 83, pages 33 through 35 of the Records
of the Hamilton County, Ohio Recorder’s Office.

The foregoing general warranty covenants are subjec ion of
Covenants, Easements, Conditions and Restrictions for iiliiiin *
recorded in Official Record Book 9175, page 3641 and re-recorded in Official
Record Book 9193, page 2439 of the records of the Hamilton County, Ohio
Recorder; non-delinquent real property taxes, non-delinquent installments of

assessments, existing easements, conditions and restrictions of record.

More common as:
Record Owner evocable Living Trust

Parcel 1c:

Real Property known and numbered 2 [ii

with all appurtenances, attachments and improvements attached
thereto, legally described as:

Situated in the City of Fairfield, County of Butler, and the State of Ohio.

Being Unit Numbelfor GR ndominiums, Phase XV and being

Registered Land Certificatefilin the Recorder’s Office of Butler County, Ohio.

Be the same more or less, but subject to all legal highways.

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d)

g)

h)

i)

k)

i)

P)

SAVE AND EXCEPT easements and restrictions of record, zoning ordinances, real
estate taxes and assessments, if any, prorated to the date of this deed.

Street address 7

Record Owner:

Butler County Parcel Number: A0700-217-000-215;
Real Property known and numbered as

with all appurtenances, attachments and
improvements attached thereto, legally described as:

_All that tract or parcel of land lyj d being in DeKalb
County, State of Georgia, being of the Phase

3, as per plat recorded in Plat Book 187, pages 2-13, DeKalb County Records, said
plat being incorporated herein and made a part hereof by reference.

Street address of property

Record Owner: Golden Homes Investments, LLC
Dekalb County Parcel Number:

$79,980.00 in U.S. Currency seized from on 9/20/19;
$14,168.00 in U.S. Currency seized from [ii on 10/24/19;

$5,367.00 in U.S. Currency seized from J on 10/24/19;

$2;780.00 in U.S. Currency seized from Pe, 10/24/19;

$41,000.00 in U.S. Currency seized from Jon 10/24/19;
$104,520.00 in U.S. Currency seized from on 10/25/19;

$13,600.00 in U.S. Currency seized from on. 10/24/19:
$50,208.00 in U.S. Currency seized ion i. 10/24/19;

Contents of PNC Bank Account Number xxx5259 in the name of TSJ Jewelers,
Inc. DBA Tri-State Jewelers, Inc.;

Contents of PNC Bank Account Number xxxx0821 in the name of Nationwide
Automotive Group;

2017 Black GMC Sierra Truck, model Denali HD, VIN WODUG8FBOFA108843,
seized fro with all attachments thereon;

2015 Black Mercedes Sedan, __ model S550 = “4matic”, VIN
WDDUGS8FBOFA 108843, seized from RE with all attachments
thereon;

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q) 2007 Gold Toyota Camry, VIN 4T1BK46K07US03142, seized from J
NIN ii. al ofan! aneritc erenn,

r) 2016 Red Mercedes G Wagon, VIN WDCYC7DF4GX254114, with all
attachments thereon;

Ss) Assorted Miscellaneous Jewelry seized from RE «in cinnaii, Ohio

45231;

t) A Glock 22, .40 caliber handgun, bearing serial number BTX116, with any
attachments and ammunition, including thirteen (13) .40 S&W Winchester rounds;

u) A SCCY, CPX-1, 9mm semi-automatic handgun, bearing serial number 655747,
with any attachments and ammunition, including nine (9) 9mm Luger rounds and
fifteen (15) CBC .25 auto rounds of ammunition;

Vv) A Ruger, SR9C, 9x19mm, bearing serial number 332-09771, with any attachments
and ammunition, including fifteen (15) Hornady 9mm Luger rounds and 1 box of
PMC; 380 caliber rounds of ammunition;

w) A German Sports Gun (GSG) .22 long rifle, bearing serial number A302605, with
any attachments and ammunition;

x) A Llama .45 caliber handgun, bearing serial number C19995, with any attachments
and ammunition; and

y) Two (2) boxes of ammunition with two extra loaded magazines and loose
ammunition seized from 9812 Beech Drive.

FORFEITURE ALLEGATION TWO
Upon conviction of one or more of the offenses set forth in Counts 1, 2, 6, 7, and/or 8 of
this Indictment, the defendan le... forfeit to the
United States, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), any firearms and
ammunition involved in or used in such violation(s), including but not limited to, the firearms and
ammunition listed in Forfeiture Allegation One.
FORFEITURE ALLEGATION THREE

Upon conviction of one or more of the offenses set forth in Counts 11 through 13 of this

Indictment, the defendants,

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po forfeit to the United States, pursuant to 18 U.S.C.

§ 982(a)(1), any property, real or personal, involved in such offense(s), and any property traceable
to such property, including but not limited to:

a) A sum of money equal to the amount of money involved in the offenses;

b) _ $79,980.00 in U.S. Currency seized from bon 9/20/19;

Cc) Contents of PNC Bank Account Number xxx5259 in the name of TSJ Jewelers,
Inc. DBA Tri-State Jewelers, Inc.; and

d) Contents of PNC Bank Account Number xxxx0821 in the name of Nationwide
Automotive Group.

SUBSTITUTE ASSETS
If any of the property described in the Forfeiture Allegations above, as a result of any act
or omission of the defendants:
a) cannot be located upon the exercise of due diligence;

b) has been transferred or sold to, or deposited with, a third party;

c) has been placed beyond the jurisdiction of the court;

d) has been substantially diminished in value; or

e) has been commingled with other property which cannot be divided without
difficulty,

it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), or as incorporated by 18 U.S.C.
§ 982(b)(1) or 28 U.S.C. § 2461(c), to seek forfeiture of any other property of the defendants, up

to the value of the property described above, including but not limited to:

a) Real Property known and numbered as EE Cincinnati,

Hamilton County, Ohio 45238, with all appurtenances, attachments and
improvements attached thereto, legally described as:

Situated in the County of Hamilton, in the State of Ohio and in the Township of
Green:

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Beginning in the Northeasterly line of ee: a point which is South
62°30” East, 265.00 feet from the intersection of said Northeasterly line with the

East line of thence continuing South 62° 30” East along the
Northeasterly line o , 56.66 feet to a point; thence North 27’
59° 30” East at right angles to [185.49 fect to a point; thence
North 58° 38’ 40” West, 56.76 feet to a point; thence South 27°59’30” West 188.82

feet to the point of beginning.

   

More commonly known as
Record Owner: Golden Homes Investments LLC

b) Real Property known and numbered as

Hamilton County, Ohio 45231, with all appurtenances, attachments and
improvements attached thereto, legally described as:

SITUA TE (Ni 104 1 PURCHASE,

COLERAIN TOWNSHIP, HAMILTON COUNTY, OHIO, AND BEING ALL OF
LOT NO.OF COMPTON ESTATES SUBDIVISION, BLOCK “B”, PART 4,
A PLAT OF WHICH IS RECORDED IN PLAT BOOK 93, PAGES 75 AND 76
OF THE HAMILTON COUNTY, OHIO RECORDS

More commonly known as
Record Owner Revocable Living Trust
Parcel Id:

A True Bill.

Ll

Grand Jury Foreferson

 

DAVID M. DEVILLERS

ITED STATES ATTORNEY

CHRISTY L. MUNCY 0
‘duentt United States Attorney
Organized Crime Drug Enforcement Task Force

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